                                In the
                           Court of Appeals
                   Second Appellate District of Texas
                            at Fort Worth
                                 No. 02-24-00198-CR

MISAEL NUNEZMARQUEZ, Appellant             §   On Appeal from the 485th District
                                               Court

                                           §   of Tarrant County (1811304)

V.                                         §   August 22, 2024

                                           §   Per Curiam Memorandum Opinion

THE STATE OF TEXAS                         §   (nfp)

                                    JUDGMENT

      This court has considered the record on appeal in this case and holds that the

appeal should be dismissed. It is ordered that the appeal is dismissed.


                                      SECOND DISTRICT COURT OF APPEALS

                                      PER CURIAM
